USDC IN/ND case 2:17-cv-00410-JTM-JEM document 26 filed 03/27/18 page 1 of 2



                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION


 JERRY G. GARCIA,
                                                      Case No. 2:17-cv-00410-JTM-JEM

   Plaintiff,                                         Honorable James T. Moody

       v.


 DISH NETWORK, LLC

   Defendant.

                                     NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that JERRY G. GARCIA (“Plaintiff”), hereby notifies the

Court that the Parties have settled all claims between them in this matter and are in the process of

completing the final closing documents and filing the dismissal. The Parties anticipate this

process to take no more than 60 days and request that the Court retain jurisdiction for any

matters related to completing and/or enforcing the settlement. The Parties propose to file a

stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.

Respectfully submitted this 27th day of March, 2018.

                                                        Respectfully submitted,

                                                        s/ Nathan C. Volheim
                                                        Nathan C. Volheim, Esq. #6302103
                                                        Sulaiman Law Group, Ltd.
                                                        2500 South Highland Avenue,
                                                        Suite 200
                                                        Lombard, IL 60148
                                                        (630) 568-3056
                                                        nvolheim@sulaimanlaw.com
                                                        Attorney for Plaintiff

                                                  1
USDC IN/ND case 2:17-cv-00410-JTM-JEM document 26 filed 03/27/18 page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing document to be electronically filed

with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of record.


                                                           s/ Nathan C. Volheim_____
                                                           Nathan C. Volheim




                                               2
